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AO 106 (Rev. 04/10) Application fora Search Warrant

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UNITED STATES DISTRICT COURT - picHARD W. NACEL

CLERK OF CUURT

for the
Southern District of Ohio 2929 JUL -2 PH 3: OS
In the Matter of the Search of ) U.S. DISTRIGE COUsT

med ch weT ALN
THE UNITED STATES POSTAL SERVICE PARCEL BEARING _ ) SOUTHERN BIST, CHIC
TRACKING NUMBER 9405 5368 9784 6824 3808 38 ) Case No. t AST. DIV. COLUMBUS
ADDRESSED TO "BRENDA DIRK, 1812 MINNESOTA AVE, _+) A HP)
COLUMBUS OH 43211-1836". ) . V1: a AD

)

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property

THE UNITED STATES POSTAL SERVICE PARCEL BEARING TRACKING NUMBER 9405 5368 9784 6824 3808 38 ADDRESSED
TO "BRENDA DIRK, 1812 MINNESOTA AVE, COLUMBUS OH 43211-1836".

located in the Southem District of Ohio __, there is now concealed (identify the
person or describe the property to be seized):

A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in violation of Title 21, United
States Code, Sections 841(a)(1) and 843(b).

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more)!
of evidence of a crime;

contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. 841(a)(1) Possession with intent to distribute a controlled substance
21 U.S.C. 843(b) Prohibited use of a communication center (U.S. Mail)

The application is based on these facts:
As set forth in the attached Affidavit of Postal Inspector Justin D. Koble

wf Continued on the attached sheet.

0 Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet,

Applicant's signature

Justin D. Koble, U.S. Postal Inspector

Printed name and title

Sworn to before me and signed in my presence.

Date: July 2, 2020

City and state: Columbus, Ohio

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AFFIDAVIT AND STATEMENT OF PROBABLE CAUSE

I, Justin D Koble, being duly sworn, hereby depose and state as follows:

1. Tam a United States Postal Inspector and have been so employed since July 2014. I have
completed a twelve-week basic training course in Potomac, Maryland, which included training in the
investigation of narcotics trafficking via the United States Mail. I am currently assigned to the Pittsburgh
Division, Columbus OH Domicile, Prohibited Mailings Narcotics Team (PMNT) in Ohio, which is
responsible for investigating narcotic violations involving the United States Mails. Part of my training as
a Postal Inspector included narcotic investigative techniques and training in the identification and
detection of controlled substances being transported in the U.S. Mail.

2. I have assisted on numerous narcotics investigations of individuals for violations of Title
18, United States Code, Section 1956(h) (Conspiracy to Commit Money Laundering), Title 21, United
States Code, Sections 841(a)(1) (Possession with Intent to Distribute a Controlled Substance), 843(b)
(Use of a Communication Facility to Facilitate the Distribution of a Controlled Substance), and 846
(Conspiracy to Possess with Intent to Distribute a Controlled Substance). The facts and information
contained in this affidavit are based on my personal knowledge, as well as that of other Postal Inspectors

and law enforcement officers involved in this investigation as described below.
3. This Affidavit is made in support of an application for a search warrant for one United
States Postal Service (USPS) Mail Parcel (hereafter referred to as the “SUBJECT PARCEL”) The

SUBJECT PARCEL is believed to contain controlled substances or proceeds from the sale of controlled

substances.

4, The facts set forth in this affidavit are based on my personal knowledge, knowledge
obtained during my participation in this investigation, knowledge obtained from other individuals, review
of records related to this investigation, communications with others who have personal knowledge of the
events and eircumstances described herein, and information gained through my training and experience.

Because this affidavit is submitted for the limited purpose of establishing probable cause in support of the

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application for a search warrant, this affidavit does not set forth each and every fact learned by me during

the course of this investigation.

5. The SUBJECT PARCEL is further described as follows:

a. One brown cardboard box with a USPS Priority Mail shipping label bearing USPS
tracking number 9405 5368 9784 6824 3808 38, addressed to “BRENDA DIRK,
1812 MINNESOTA AVE, COLUMBUS OH 43211-1836” with a return address of
“MICHELLE MARTIN, 11706 E MONTEROSA DRIVE, SCOTTSDALE GA
30135.” The box measures approximately 12” X 12” X 8” and weighs approximately
11 pounds. $12.62 in EasyPost electronic postage is affixed to the exterior of the
mailing box. Although the mailing label indicates a return-address in Scottsdale GA,
USPS records indicate the parcel entered the USPS mail processing network on June
27, 2020 in Mesa, AZ.

BACKGROUND

6. From my training and experience, as well as the training and experience of other Postal -
Inspectors on the PMNT, J am aware that the USPS mail system is frequently used to transport controlled
substances and/or proceeds from the sale of controlled substances to areas throughout the United States, I
also know that drug traffickers prefer mail/delivery services such as Express Mail and Priority Mail
because of their reliability and the ability to track the article’s progress to the intended delivery point.
When a drug trafficker learns that a mailed article has not arrived as scheduled, he/she becomes
suspicious of any delayed attempt to deliver the item.

7. Based on my training and experience regarding Express Mail operations, I am aware the
Express Mail service was designed primarily to fit the needs of businesses by providing overnight
delivery for time-sensitive materials. Moreover, based on my training and experience, I am aware
business mailings often: (a) contain typewritten labels; (b) are addressed to and/or fromi a business; (c) are

contained within flat cardboard mailers; and (d) weigh less than eight ounces, In addition, corporate

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charge accounts were developed by the United States Postal Service to avoid time-consuming cash

payments by businesses for business mailings.

8. Based on my training and experience, I am aware the Priority Mail service was created as
a less expensive alternative to Express Mail overnight delivery, but designed to provide quicker, more
reliable service than standard First Class Mail. Whereas a customer mailing an article via Express Mail
expects next-day service, a customer who mails an article via Priority Mail can expect two to three-day
delivery service. The USPS also provides a tracking service though a USPS tracking number, which
allows the customer to track the parcel and confirm delivery.

9. Based on my training and experience regarding Priority Mail operations, I am aware the
majority of Priority Mail mailings are business mailings. Businesses have found that Priority Mail is a
significantly less expensive method of mailing than Express Mail, particularly when next-day service is
not a requirement. I also know, similar to Express Mail, Priority Mail business mailings tend to be
smaller, lighter mailings, and on average, weigh less than two pounds. Examples of the typical types of
business mailings conducted via Priority Mail include books, clothing, pharmaceuticals, and consumer
goods purchased from ontine retailers.

10. From my training, personal experience, and the collective experiences related to me by
other Postal Inspectors on the PMNT who specialize in investigations relating to the mailing of controlled
substances and proceeds from the sale of controlled substances, I am aware the State of Arizona is a
source location for controlled substances based on its close proximity to the border between the United
States and Mexico. As such, controlled substances are frequently transported from Arizona via USPS, -
and proceeds from the sale of controlled substances are frequently returned to Arizona via USPS,

11. Based on my training and experience regarding the use of Express Mail and Priority Mail
to transport controlled substances and/or the proceeds from the sale of controlled substances, I am aware

these parcels usually contain some or all of the following characteristics:

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a. The parcel is heavier than the typical mailing, often weighing more than eight ounces
for Express Mail, and two pounds for Priority Mail; and

b. The parcel either: (a) was destined for an area known to be a frequent destination
point for controlled substances, having been mailed from an area known to be a
Source area for controlled substances; or (b) originated from an area known to be a
frequent origination point for proceeds from the sale of controlled substances, having
been mailed to an area known to be a destination area for proceeds from the sale of

controlled substances.

12. Express Mail and Priority Mail parcels found to meet any or all of the characteristics

described above are often further scrutinized by Postal Inspectors through address verifications and an
examination by a trained narcotics detecting canine.
SUMMARY OF INVESTIGATION
13. Since Fall 2019, an Arizona Task Force comprised of agents from the Drug Enforcement
Administration (DEA), Department of Homeland Security Investigations (HSI), the United States Postal
Inspection Service (USPIS) and other have been investigating and targeting a Darknet drug trafficking
organization (DTO) utilizing the moniker “livdabs”. “Livedabs” is known to offer for sale various
controlled substances including methamphetamine, cocaine, and heroin and ship these products
throughout the United States via the United States Postal Service. During the course of the investigation,
several suspects in Arizona, Ohio and elsewhere have been identified as sending and receiving USPS
parcels suspected and confirmed to contain controlled substances and their associated proceeds,
Inspectors and agents in Ohio began assisting Arizona with its investigation in approximately December
2019,
14. On March 4, 2020, your Affiant conducted surveillance of the delivery of USPS Priority
Mail Express parcel 9470 1368 0784 6396 7411 49. This parcel was believed to be associated with -

investigation based on the type of postage and origin. This parcel was determined to be addressed to

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“BRENDON DIRK, 3834 LAMARQUE CT, COLUMBUS OH 43232-4954” with a return address of
“18701 N 67™ DR, GLENDALE AZ 85308-5722". Following delivery of the parcel, your Affiant
observed an individual later identified by Ohio Driver’s License as Brandon DIRKE (DIRKE) arrive at
the address in a maroon Volkswagen sedan. DIRKE left the vehicle running and was observed entering
the residence through the front door and exiting about two minutes later with the parcel. DIRKE got back
into the maroon Volkswagen and departed the area. According to Ohio vehicle registration, the maroon
Volkswagen was registered to DIRKE at 3834 Lamarque Court, Columbus Ohio 43232.

15. On June 22, 2020, your Affiant and other law enforcement conducted surveillance of the
delivery of USPS Priority Mail Express parcel 9470 1368 9784 6577 8894 55. This parcel was also
believed to be associated with this investigation based on the type of postage and origin. This parcel was
determined to be addressed to “BRUNDON DIRK, 1812 MINNESOTA AVE, COLUMBUS OH 43211-
1836” with a return address of “FRANK THOMAS, 7272 E GAINEY RANCH RD UNIT 43,
SCOTTSDALE AZ 85258”. The mailing label affixed to the parcel indicated it weighed approximately 4
pounds.

16. _ Prior to delivery of the parcel, an individual later determined to be DIRKE was observed
driving a white Jeep rental vehicle nearby and then parking directly in front of 1812 Minnesota Ave,
Columbus OH 43211. Following delivery of the parcel, an unknown black male exited the residence with
the parce] and entered the vehicle with DIRKE. DIRKE and the-unknown black male then traveled to
7603 Sessis Drive, Columbus, Ohio 43085. This address had been previously identified during the course
of this investigation as being the primary residence of DIRKE.

17. On June 22, 2020 USPS Priority Mail Express parcel 9470 1368 9784 6802 1784 60 was
identified as being mailed from Scottsdale, Arizona 85254. US Postal Inspectors in Phoenix interdicted
the parcel and determined it to be addressed to “BRENDON DIRK, 3834 LAMARQUE CT,
COLUMBUS OH 43232-4954” with a return address of “GIFT-OLOGY, 16495 N SCOTTSDALE RD,

SCOTTSDALE AZ 85254”. USPS records indicated the parcel weighed approximately 10 pounds.

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18. A United States Magistrate Judge in the District of Arizona authorized the search of the
parcel in 20-9185MB and on June 24, 2020, the warrant was executed. Approximately 3,542 grams of
suspected methamphetamine and approximately 9 grams of a brownish white powdery substance were
recovered,

19. On June 29, 2020, a federal search warrant was executed at DIRKE’s residence, 7603
Sessis Drive, Columbus, Ohio 43085. During the search, several items of evidentiary value including
packaging materials, suspected controlled substances, firearms and US currency were recovered.

20. On June 29, 2020, agents in Phoenix, Arizona executed a federal search warrant at 4610
North .68th Street, Apartment 447, Scottsdale, Arizona, the residence of Charles McCoy (MCCOY).
During the course of this investigation, MCCOY has been found to be the likely leader of this DTO.
During the search, which also included the search of a rental vehicle known to’ be utilized by McCOY, a
duffle bag containing a white substance that field tested positive for the characteristics of
methamphetamine was recovered. The weight of the duffle bag and suspected methamphetamine was
approximately 17 pounds. Additionally, a USPS mailing receipt for USPS Priority Mail parcel 9405 5368
9784 6824 3808 38 (the SUBJECT PARCEL), was recovered inside the vehicle.

THE SUBJECT PARCEL

21. On June 29, 2020, US Postal Inspectors in Columbus Ohio intercepted the SUBJECT
PARCEL at the Oakland Park Post Office, 2200 Innis Road, Columbus Ohio 43224. The SUBJECT
PARCEL is currently being held at the US Postal Inspection Service located at 850 Twin Rivers Road,
Columbus, Ohio 43216.

"CANINE EXAMINATION OF THE SUBJECT PARCEL

22. Because of the possibility the SUBJECT PARCEL may contain fentanyl, the SUBJECT

PARCEL was not subjected to an examination by a drug detecting canine. Fentanyl can be absorbed

through the mucus membranes of the canine via inhalation and skin contact, which can result in death.

CONCLUSION
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23. Based on these facts, there is probable cause to believe the SUBJECT PARCEL
contains controlled substances or proceeds from the sale of controlled substances, constituting evidence of
violations of Title 18, United States Code, Section 1956(h) (Conspiracy to Commit Money Laundering),
and Title 21, United States Code, Sections 841(a)(1) (Possession with Intent to Distribute a Controlled

Substance), and 846 (Conspiracy to Distribute a Controlled Substance).

/

J N D. KOBLE
United States Postal Inspector

Subscribed to electronically and sworn to telephonically on this end day of July, 2020.

